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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF KENTUCKY
                                       CENTRAL DIVISION
                                          FRANKFORT

UNITED STATES OF AMERICA                          )
                                                  )
        Plaintiff,
                                                  )        Civil No. 3:18-cv-00057-GFVT
                                                  )
V.
                                                  )
                                                  )                   ORDER
AMANDA MULLINS, et al.,                           )
                                                  )
        Defendants.                               )
                                                  )


                                          *** *** *** ***
          This matter is before the Court on the Motion to Accept the Warning Order Attorney

 Report and Award Fees filed by Adele Burt Brown. [R. 13.] Ms. Brown was appointed by

 Order of this Court as warning order attorney on November 18, 2018, for Defendant Unknown

 Spouse of Amanda Mullins. [R. 8.] Accordingly, Ms. Brown has made a diligent attempt to

 notify Unknown Spouse of Amanda Mullins of the pendency of this action. No objections or

 responses have been filed and the time for doing so has elapsed. See LR 7.1(c). Accordingly,

 and the Court being sufficiently advised, it is hereby ORDERED as follows:

          1.         The Motion for Attorney’s Fees [R. 13] and the Report of Warning Order

 Attorney are ACCEPTED;

          2.         The Court finds that the rights of the Defendant Unknown Spouse of Amanda

 Mullins have been adequately protected;

          3.         In accordance with the Court’s Standing Order, Ms. Brown is awarded a fee of

 $200.00 plus expenses in the amount of $13.50 for photocopies and postage. Such fees and
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expenses shall be taxed as costs and paid by the United States of America pursuant to this

Court’s Order; and

       4.      Adele Burt Brown is hereby discharged from further service as Warning Order

Attorney herein.

       This the 22nd day of May, 2019.




                                                2
